PROB 126
ED/AR (2/2005)

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United States District Court
for the
Eastern District of Arkansas

  

Petition for Summons for Offender Under Supervision
Supplemental

Name of Offender: J ames Jackson Case Number: 4:02CR00094-001 WRW

Name of Sentencing Judicial Officer: Honorable William R. Wilson, Jr.

Offense:

United States District Judge

Possession with intent to distribute more than 5 grams of cocaine base

Date of Sentence: November 21, 2002

Sentence:

84 months Bureau of Prisons, 4 years supervised release, mandatory drug
testing, substance abuse treatment, and 3100 special penalty assessment

March 3, 2008: Sentence of imprisonment reduced to time Served under
18 U.S.C. 3582(0)(2), and immediately enter and complete residential

______substance'a'buse*tre'atm'entfo'l'l'owed*by*chemi'calfree'living;al'l'provisi'ons*of_

judgment dated November 21, 2002, shall remain in effect
March 24, 2008: Revoked, 6 months Bureau of Prisons, 36 months
supervised release, mandatory drug testing, substance abuse treatment, and

$100 special penalty assessment

June 18, 2009: Revocation hearing- continued for 90 days

Type of Supervision: Supervised Release Date Supervision Commenced: February 6, 2009

Expiration Date: February 5, 2012

Asst. U.S. Attorney: John Ray White Defense Attorney: Teresa Bloodman

U.S. Probation Officer: Robert L. Gwin
Phone No.: 501-604-5270

PETITIONING THE COURT

The offender has violated the following condition(s) of supervision:

Condition

General

Nature of Noncompliance

The defendant shall refrain from any unlawful use of a controlled substance.

On September 9, 2009, Mr. Jackson submitted a urine specimen during a home visit
which tested positive for cocaine and marijuana He also admitted to using ectasy. He
signed an admission of drug use form acknowledging he ingested all three substances on
September 8, 2009.

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Special The defendant shall participate, under the guidance and supervision of the U.S.
Probation Office, in a substance abuse treatment program which may include
testing, outpatient counseling and/or residential treatment and abstain from the use
of alcohol throughout the course of any treatment.

Mr. Jackson failed to report for random drug testing on August 25 and 31, and
September 4, 2009.

2 The defendant shall report to the probation officer and shall submit a truthful and
complete Written report Within the first five days of each month.
Mr. Jackson failed to submit a written report for August 2009 as required by the
conditions of his supervision

3 The defendant shall answer truthfully all inquiries by the probation officer and
' follow the instructions of the probation officer.
On August 27, 2009, during telephone contact with Mr. Jackson, he was instructed to
report to the U.S. Probation Office on August 28, 2009, for drug testing. Mr. Jackson
failed to report on August 28, 2009, as directed.

 

lt is requested this information be included with the previously reported violations dated May 8, and
August 24, 2009. A summons was previously issued and a revocation hearing was held June 18, 2009.
The revocation hearing was continued until September 29, 2009. Mr. Jackson has retained Teresa
Bloodman as counsel. The Government is represented by Assistant U.S. Attorney John Ray White.

l declare under penal of perjury that the foregoing is true and correct.

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Executed on

 

 

 

Robert L. Gwin d`dlmRay White

U.S. Probation Offlcer Assistant U. S. Attorney

Date: September 25, 2009 Date: §§ l ~L§//QL}
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This form is to be filed with Criminal Docketing as a motion.

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Prob 12C

Offender Under Supervision
Name of Offender: James Jackson Case Number: 4:02CR00094-001 WRW
Approved:

Supervising U.S. Probation Offic\e'r’

RLG/khm

cc: Teresa Bloodman, P.O. Box 13641, Maumelle, AR 72113
Assistant U.S. Attorney, John Ray White, P.O. BoX 1229, Little Rock, AR 72203

 

